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11                                    UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                            SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                        )   Case No. CR-18-00258-EJD
15                                                    )
             Plaintiff,                               )   DECLARATION OF AMY MASON SAHARIA
16                                                    )   IN SUPPORT OF MS. HOLMES’ MOTION TO
        v.                                            )   EXCLUDE EXPERT TESTIMONY, OR IN THE
17                                                    )   ALTERNATIVE, COMPEL ADEQUATE RULE
     ELIZABETH HOLMES and                             )   16 DISCLOSURE
18   RAMESH “SUNNY” BALWANI,                          )
                                                      )
19           Defendants.                              )   Hon. Edward J. Davila
                                                      )
20                                                    )
                                                      )
21

22
             I, AMY MASON SAHARIA, declare as follows:
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             1.      I represent Defendant Elizabeth Holmes and have been admitted to practice pro hac vice
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     in the above-captioned matter. I submit this declaration in support of Ms. Holmes’ Motion To Exclude
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     Expert Testimony Pursuant to Rule 16. I attest to the following facts upon which the motion relies.
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             2.      Attached to the Motion are seven exhibits. Three exhibits have been filed as attachments
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     DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ MOTION TO EXCLUDE EXPERT
     TESTIMONY OR IN THE ALTERNATIVE COMPEL ADEQUATE RULE 16 DISCLOSURE
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 1 to Ms. Holmes’ Administrative Motion For Leave to File Exhibits Under Seal (“Administrative

 2 Motion”) because they contain confidential information. The contents of each are as follows:

 3                 a.      Exhibit A is a true and correct copy of a March 6, 2020 letter from the

 4 government providing the government’s Rule 16 disclosure re: expert testimony, redacted to conceal

 5 patient names pursuant to the protective order entered in this case. Redacted and unredacted copies have

 6 been tendered as attachments to Ms. Holmes’ Administrative Motion filed this day.

 7                 b.      Exhibit B is a true and correct copy of a March 12, 2020 letter from Katherine

 8 Trefz to the government regarding the government’s Rule 16 disclosure.

 9                 c.      Exhibit C is a true and correct copy of an April 8, 2020 email from Katherine

10 Trefz to Robert Leach regarding the government’s Rule 16 disclosure.

11                 d.      Exhibit D is a true and correct copy of a May 6, 2020 letter from Katherine Trefz

12 to the government regarding the government’s Rule 16 disclosure.

13                 e.      Exhibit E is a true and correct copy of a May 14, 2020 e-mail from Robert Leach

14 to defense counsel regarding the government’s Rule 16 disclosure.

15                 f.      Exhibit F is a true and correct copy of the government’s FD-302 for Dr. Curtis

16 Page bates-stamped US-REPORTS-0015101, redacted to conceal Dr. Page’s personal identifying

17 information pursuant to the protective order entered in this case. Redacted and unredacted copies have

18 been tendered as attachments to Ms. Holmes’ Administrative Motion filed this day.

19                 g.      Exhibit G is a true and correct copy of the government’s FD-302 for Dr. Gerald

20 Asin bates-stamped US-REPORTS-0015043, redacted to conceal Dr. Asin’s personal identifying

21 information and to conceal patient names pursuant to the protective order entered in this case. Redacted

22 and unredacted copies have been tendered as attachments to Ms. Holmes’ Administrative Motion filed

23 this day.

24          I declare under penalty of perjury under the laws of the United States that the foregoing is true

25 and correct to the best of my knowledge.

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     DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ MOTION TO EXCLUDE EXPERT
     TESTIMONY OR IN THE ALTERNATIVE COMPEL ADEQUATE RULE 16 DISCLOSURE
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 1         Executed this 2nd day of July, 2020 in Southampton, NY.

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 4                                                   AMY MASON SAHARIA
                                                     Attorney for Elizabeth Holmes
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     DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ MOTION TO EXCLUDE EXPERT
     TESTIMONY OR IN THE ALTERNATIVE COMPEL ADEQUATE RULE 16 DISCLOSURE
     CR-18-00258 EJD SVK                     3
